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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
v.
RYAN WILSON, Case No. 1:23-cr-00351 (TNM)

Defendant.

VERDICT

For the reasons stated in the oral ruling on October 10, 2024, based on the evidence
presented in the record, the Court finds the defendant, Ryan Wilson, GUILTY beyond a
reasonable doubt on the following charges in the Indictment, ECF No. 12:

As to Count 1, the charge of committing and attempting to commit an act to obstruct,
impede, and interfere with a law enforcement officer lawfully engaged in the lawful performance
of his/her official duties incident to and during the commission of a civil disorder which in any
way and degree obstructed, delayed, and adversely affected commerce and the movement of any
article and commodity in commerce and the conduct and performance of any federally protected
function, in violation of 18 U.S.C. § 231(a)(3);

As to Count 2, the charge of forcibly assaulting, resisting, opposing, impeding,
intimidating, and interfering with, an officer and employee of the United States, and of any
branch of the United States Government (including any member of the uniformed services), and
any person assisting such an officer and employee, while such person was engaged in and on
account of the performance of official duties, and where the acts in violation of this section
involve physical contact with the victim and the intent to commit another felony, in violation of

18 U.S.C. § 11 1(a);
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As to Count 3, the charge of using a deadly and dangerous weapon, that is, a pipe, to
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, Officer
C.W., an officer from the Metropolitan Police Department, while such officer or employee was
engaged in or on account of the performance of official duties, and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony, in
violation of 18 U.S.C. § 111(a) and (b);

As to Count 4, the charge of knowingly entering and remaining in a restricted building
and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United
States Capitol and its grounds, where the Vice President was and would be temporarily visiting,
without lawful authority to do so, and, during and in relation to the offense, using and carrying a
deadly and dangerous weapon, that is, a pipe, in violation of 18 U.S.C. § 1752(a)(1) and
(b)(1)(A);

As to Count 5, the charge of knowingly, and with intent to impede and disrupt the orderly
conduct of Government business and official functions, engaging in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds,
where the Vice President was and would be temporarily visiting, when and so that such conduct
did in fact impede and disrupt the orderly conduct of Government business and official
functions, and, during and in relation to the offense, using and carrying a deadly and dangerous

weapon, that is, a pipe, in violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A);
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As to Count 6, the charge of knowingly engaging in any act of physical violence against
any person and property in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, and, during and in relation to the offense, using
and carrying a deadly and dangerous weapon, that is, a pipe, in violation of 18 U.S.C.

§ 1752(a)(4) and (b)(1)(A);

As to Count 7, the charge of willfully and knowingly engaging in disorderly and
disruptive conduct within the United States Capitol Grounds and in any of the Capitol Buildings
with the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and
either House of Congress, and the orderly conduct in that building of a hearing before or any
deliberation of, a committee of Congress or either House of Congress, in violation of 40 U.S.C. §
5104(e)(2)(D); and

As to Count 8, the charge of willfully and knowingly engaging in an act of physical
violence within the United States Capitol Grounds and any of the Capitol Buildings, in violation

of 40 U.S.C. § 5104(e)(2)(F).

SO ORDERED.

Dated: October 10, 2024 TREVOR N. McFADDEN, U.S.D.J.
